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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA


  INDIANA PROTECTION AND                )
  ADVOCACY SERVICES COMMISSION, et al., )
                                        )
                      Plaintiffs,       )
            v.                          )              No. 1:08-cv-1317-TWP-MJD
                                        )
  COMMISSIONER, INDIANA DEPARTMENT )
  OF CORRECTION,                        )
                                        )
                      Defendant.        )


                                           ENTRY

         “The purpose of the [expert witness] report is to provide adequate notice of the

  substance of the expert's forthcoming testimony and to give the opposing party time to

  prepare for a response.” Meyers v. National R.R. Passenger Corp. (Amtrak), 619 F.3d 729,

  734 (7th Cir. 2010). “The consequence of non-compliance with Rule 26(a)(2)(B) is

  exclusion of an expert’s testimony . . . unless the failure was substantially justified or is

  harmless.” Id. (internal quotations omitted).

         Having considered the defendant’s motion to exclude testimony of Dr. Kathryn

  Burns, the response to such motion, and the defendant’s reply, the court grants such

  motion (Dkt. No. 182) as specified below:



         1.     Dr. Burns has been identified by plaintiffs as an expert witness. Dr. Burns’

         deposition was taken on May 9, 2010. Neither during the course of the deposition

         or prior thereto have the bases for Dr. Burns’ expert opinion been sufficiently and

         properly disclosed.
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          2.      An expert report is required to include the facts or data considered by an

          expert in forming her opinions so that opposing counsel has notice before a

          deposition as to what the witness will testify. The goal in this regard is “to shorten

          or decrease the need for expert depositions.” Ciomber v. Cooperative Plus, Inc.,

          527 F.3d 635, 642 (7th Cir. 2008)(internal quotation omitted). “The expert witness

          discovery rules are designed to aid the court in its fact-finding mission by allowing

          both sides to prepare their cases adequately and efficiently and to prevent the tactic

          of surprise from affecting the outcome of the case.” Sherrod v. Lingle, 223 F.3d 605,

          613 (7th Cir. 2000).

          3.      The testimony of Dr. Burns, on the basis of the present record and insofar

          as it would extend to her expert opinion concerning the adequacy of mental health

          treatment provided to inmates by the Indiana Department of Correction, is

          excluded, subject to the following circumstances under which such testimony will

          be permitted:


          a.      The plaintiffs make a full disclosure of the basis for Dr. Burns’ opinion in the

                  fashion prescribed by Rule 26(a)(2)(B) of the Federal Rules of Civil

                  Procedure.

          b.      The foregoing supplemental disclosure is made not later than July 6, 2011.

          c.      Dr. Burns shall be made available for further deposition to be taken by the

                  defendant at the plaintiffs’ expense not later than July 13, 2011.


                  IT IS SO ORDERED.


               06/28/2011                             ________________________
  Date:
                                                      Hon. Tanya Walton Pratt, Judge
                                                      United States District Court
  Distribution attached.                              Southern District of Indiana
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